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 7                       UNITED STATES DISTRICT COURT

 8                      EASTERN DISTRICT OF CALIFORNIA

 9

10   RALPH COLEMAN, et al.,

11              Plaintiffs,                    NO. CIV. S-9-520 LKK/JFM (PC)

12        v.

13   EDMUND G. BROWN, JR., et al.,

14              Defendants.
                                        /
15

16        Defendants have filed a motion to terminate all prospective

17   relief in this case (ECF No. 4275),1 asserting that they are now

18   delivering constitutionally adequate mental health care to the

19   plaintiff class.       In 1995, this court held that defendants’

20   delivery of mental health care to inmates with serious mental

21   disorders violated the Eighth Amendment and appointed a special

22   master to oversee defendants’ remediation of the constitutional

23   violation.     After   almost    eleven   years   of   remedial   effort,

24   plaintiffs filed a motion to convene a three-judge court to

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            Defendants have also filed a motion to vacate or modify the
26   population reduction order in the three-judge court (ECF No. 4280).

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 1   consider    whether     overcrowding    was      preventing     defendants     from

 2   remedying the Eighth Amendment violation and whether a prison

 3   population reduction order was necessary.                In a July 2007 order,

 4   this court found that “[i]n spite of . . . commendable progress .

 5   . . defendants’ mental health care system has not come into

 6   compliance with the Eighth Amendment at any point since this action

 7   began.”    Order filed July 23, 2007, at 6.               The court found that

 8   numerous orders issued in the preceding eleven and a half years had

 9   failed to remedy the constitutional violation.                  After review of

10   substantial evidence, the court concluded “that the overcrowding

11   crisis in [California’s prisons] is preventing the delivery of

12   constitutionally adequate mental health care to the plaintiff class

13   and,   therefore,     that   some    form   of     limitation    on   the   inmate

14   population must be considered.”            Id. at 13.      For that reason, the

15   court requested that a three-judge court be convened pursuant to

16   18 U.S.C. § 3626(a)(3) and 28 U.S.C. § 2284 to consider whether a

17   population reduction order was required.

18          That request was granted by the Chief Judge of the United

19   States Court of Appeals for the Ninth Circuit.                In an order filed

20   August     4,   2009,     the    three-judge        court     determined       that

21   constitutional      compliance      could    not    be    attained    unless   the

22   population density in California’s adult prisons is reduced to

23   137.5% of their combined design capacity.                That determination was

24   affirmed by the United States Supreme Court on May 23, 2011.                    On

25   June 30, 2011, the three-judge court issued an order setting a

26   timetable for achievement of the required population reduction.

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 1   (ECF No. 4032.)

 2        Defendants press their current motion even though they concede

 3   that the prison population density has not been reduced to 137.5%

 4   of capacity.     Indeed, defendants concede that they failed even to

 5   reduce the density to 147% of combined design capacity by December

 6   27, 2012, as required by the three-judge court’s June 30, 2011

 7   order.    They    assert   that   constitutional   compliance   has   been

 8   attained without the required population density reduction.2

 9        Accordingly, this court asked the parties to submit papers

10   explaining “whether this court is precluded by the three judge

11   court’s finding and by its population reduction order from hearing

12   defendants’ motion to terminate at this time.”         (ECF No. 4290.)

13   The parties have timely filed their briefs, both arguing that this

14   court can hear the motion.

15        The court agrees that it can hear the motion at this time to

16   the degree the motion asks this court to determine whether or not

17   there is an on-going constitutional violation in the delivery of

18   mental health care to the plaintiff class. Accordingly, this court

19   will consider whether the California prison mental health care

20   delivery system is now in constitutional compliance.

21        To the extent that defendants ask this court to terminate “all

22   relief” in this action (ECF No. 4275 p. 1), however, the request

23   cannot be granted. The population reduction order issued by three-

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            “... at the current population density, inmates are
     receiving health care that exceeds constitutional standards.”
26   Motion To Terminate at p.21 (ECF No. 4275 p.26).

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 1   judge court is relief in this action and cannot be terminated by

 2   this court.     See 28 U.S.C. § 2284.3

 3        The parties are engaged in discovery and the Magistrate Judge

 4   has set a procedure for resolution of discovery disputes that may

 5   arise (ECF No. 4306).     The court now sets the following briefing

 6   and argument schedule:

 7        1.   Defendants shall cooperate fully in discovery propounded

 8   by plaintiffs so that all discovery required to respond to the

 9   motion to terminate, including but not limited to depositions of

10   all individuals who have tendered declarations in support of said

11   motion, has been completed by March 1, 2013.

12        2.    Plaintiff’s Opposition to defendants’ motion to terminate

13   is due no later than March 15, 2013, at 4:30 p.m.;

14        3.      Defendants’ Reply, if any, is due no later than March 22,

15   2013, at 4:30 p.m.;

16        4.      Oral argument shall be heard on March 27, 2013, at

17   10:00 a.m.     The court presently does not intend to entertain

18   live testimony at the hearing.

19        IT IS SO ORDERED.

20        DATED: January 28, 2013.

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             Moreover, to the extent defendants’ motion could be read
     to ask this court to re-litigate or undermine a fully-litigated
24   adjudication of the three-judge court, specifically affirmed by the
     Supreme Court, concerning the necessity for a population reduction
25   order the court declines to do so. Whether such relitigation might
     be proper (an issue this court does not here decide) is a matter
26   only, if at all, for the three-judge court.

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